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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: 2:19-cv-08182-SB-AFM Date: 11/11/2021

 

Title: Blackstone Hamilton et al. v. Tarek El Moussa et al.

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers] ORDER DISCHARGING OSC RE: SANCTIONS

On November 4, 2021, the Court issued an Order to Show Cause (OSC) re:
Sanctions for Plaintiff's failure to timely submit status reports every 90 days, in
violation of the Court’s April 14, 2021 Order. Dkt. No. 61. Plaintiffs counsel
timely filed a response declaration. Dkt. No. 62.

The Court discharges the OSC re: Sanctions and declines to impose
sanctions. Nonetheless, the Court admonishes Plaintiff's counsel to comply with
all rules and court orders in the future. The Court will impose monetary sanctions
against counsel for any future violations, including any required disclosure
violations (set forth in the next sentence). In the event that this Court issues an
OSC in any future case involving Plaintiffs counsel, he is ordered to disclose this
admonishment.

Plaintiff shall file his next status report by no later than February 9, 2022,
with quarterly reports due thereafter.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES —- GENERAL Initials of Deputy Clerk VPC

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